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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA          )
                                  )
    v.                            )      CRIMINAL ACTION NO.
                                  )         2:13cr90-MHT
SARA CHILSOM                      )            (WO)


                        OPINION AND ORDER

    This cause is before the court on defendant Sara

Chilsom’s motion to continue made on August 16, 2013.

The government does not oppose Chilsom’s request, and her

co-defendants who have not plead agree to it.                  For the

reasons   set   forth    below,    the    court   finds    that    jury

selection and trial, now set for September 30, 2013,

should be continued pursuant to 18 U.S.C. § 3161(h)(7).

    While the granting of a continuance is left to the

sound discretion of the trial judge, United States v.

Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986), the court

is limited by the requirements of the Speedy Trial Act,

18 U.S.C. § 3161.       The Act provides in part:

          "In any case in which a plea of not
          guilty is entered, the trial of a
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          defendant charged in an information or
          indictment with the commission of an
          offense shall commence within seventy
          days from the filing date (and making
          public)    of   the    information    or
          indictment, or from the date the
          defendant has appeared before a judicial
          officer of the court in which such
          charge is pending, whichever date last
          occurs."

18 U.S.C. § 3161(c)(1).       The Act excludes from the 70-day

period any continuance based on “findings that the ends

of justice served by taking such action outweigh the best

interest of the public and the defendant in a speedy

trial.”      §    3161(h)(7)(A).           In    granting      such    a

continuance, the court may consider, among other factors,

whether   the    failure    to   grant    the    continuance      would

“result in a miscarriage of justice," § 3161(h)(7)(B)(i),

or “[w]hether the case is so unusual or so complex ...

that it is unreasonable to expect adequate preparation”

without granting a continuance.           § 3161(h)(7)(B)(ii).

    The court concludes that, in this case, the ends of

justice served by granting a continuance outweigh the

interest of the public and Chilsom in a speedy trial.

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Chilsom, through counsel, has represented that she is

undergoing a mental evaluation and that the report of

that evaluation will not be available until September 24,

2013.   A continuance should be granted to allow time for

the evaluation and report to be produced.

                                 ***

    Accordingly, it is ORDERED as follows:

    (1) Defendant Sara Chilsom’s motion for continuance

         (Doc. No. 181) is granted.

    (2) The     jury    selection      and   trial,    now    set      for

         September 30, 2013, are reset for November 18,

         2013, at 10:00 a.m., in Courtroom 2FMJ of the

         Frank M. Johnson Jr. United States Courthouse

         Complex, One Church Street, Montgomery, Alabama.

    DONE, this the 19th day of August, 2013.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE
